Case: 1:18-cv-02929-SO Doc #: 69 Filed: 11/01/23 1 of 1. PageID #: 758




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



TONYA CLAY,                                    )      Case No.: 1:18 CV 2929
                                               )
       Plaintiff                               )      JUDGE SOLOMON OLIVER, JR.
                                               )
       v.                                      )
                                               )
CUYAHOGA COUNTY, OHIO, et al.,                 )
                                               )
       Defendants                              )      STATUS CONFERENCE ORDER




       The court held a status conference with counsel for the parties in the within case on

October 30, 2023, at 2:30 p.m. The parties indicated that they are on track to have a final settlement

agreement within a 90-day period set at the last status conference, except for approval by the

County. The parties are optimistic that this can be accomplished by December 1, 2023. The court

hereby sets a status conference for December 4, 2023, at 3:30 p.m.

       IT IS SO ORDERED.



                                                      /s/ SOLOMON OLIVER, JR.
                                                      UNITED STATES DISTRICT JUDGE


November 1, 2023
